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                                                 L.B.F. 3015.1

                                 UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA

     In re:                                                  :       CHAPTER 13
     PAMELA DENISE JONJO,                                    :
     a/k/a PAMELA D. JONJO,                                  :       CASE NO.: 24-_______
     a/k/a PAMELA JONJO,                                     :
                       Debtor(s)                             :



                                             Chapter 13 Plan

             ☒Original
             ☐ ____Amended

     Date:   April 04, 2024

                                THE DEBTOR HAS FILED FOR RELIEF UNDER
                                 CHAPTER 13 OF THE BANKRUPTCY CODE

                                      YOUR RIGHTS WILL BE AFFECTED

     You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
     contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the
     actual Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss
     them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN
     MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4.
     This Plan may be confirmed and become binding, unless a written objection is filed.

                      IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                     MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                  NOTICE OF MEETING OF CREDITORS.

Part 1: Bankruptcy Rule 3015.1(c) Disclosures

    ☐ Plan contains non-standard or additional provisions – see Part 9
    ☐ Plan limits the amount of secured claim(s) based on value of collateral – see Part 4
    ☐ Plan avoids a security interest or lien – see Part 4 and/or Part 9
Part 2: Plan Payment, Length and Distribution – PARTS 2(c) & 2(e) MUST BE COMPLETED IN EVERY CASE




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    § 2 (a) Plan payments (For Initial and Amended Plans):

       Total Length of Plan: 60 months

       Total Base Amount to be paid to the Chapter 13 Trustee (“Trustee”) $52,800.00
       Debtor shall pay the Trustee $880.00 per month for 60 months; and then
       Debtor shall pay the Trustee $ _________ per month for the remaining ____ months;
                                           or
       Debtor shall have already paid the Trustee $___________ through month number ___ and
       then shall pay the Trustee $________ per month for the remaining _______months.

    ☐ Other changes in the scheduled plan payment are set forth in § 2(d)


    § 2 (b) Debtor shall make plan payments to the Trustee from the following sources in
addition to future wages (Describe source, amount and date when funds are available, if known):


    § 2 (c) Alternative treatment of secured claims:
       ☒ None. If “None” is checked, the rest of § 2(c) need not be completed.

       ☐ Sale of real property
        See § 7(c) below for detailed description

        ☐ Loan modification with respect to mortgage encumbering property:
         See § 4(f) below for detailed description


    § 2 (d) Other information that may be important relating to the payment and length of Plan:


    § 2 (e) Estimated Distribution:

       A. Total Priority Claims (Part 3)
           1.   Unpaid attorney’s fees                               $    4,225.00
           2.   Unpaid attorney’s costs                               $      -0-
           3.   Other priority claims (e.g., priority taxes)          $
       B. Total distribution to cure defaults (§ 4(b))                $ 41,000.00
       C. Total distribution on secured claims (§§ 4(c) &(d))         $   1,882.05
       D. Total distribution on unsecured claims (Part 5)             $      -0-
                                           Subtotal                   $ 47,107.05
       E. Estimated Trustee’s Commission                              $   5,692.95
       F. Base Amount                                                 $ 52,800.00




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        § 2 (f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)


        ☒ By checking this box, Debtor’s counsel certifies that the information contained in
           Counsel’s Disclosure of Compensation [Form B2030] is accurate, qualifies counsel
           to receive compensation pursuant to L.B.R. 2016-3(a)(2), and requests this Court
           approve counsel’s compensation in the total amount of $4,725.00, with the
           Trustee distributing to counsel the amount stated in §2(e)A.1. of the Plan.
           Confirmation of the plan shall constitute allowance of the requested compensation.




Part 3: Priority Claims (Including Administrative Expenses & Debtor’s Counsel Fees)


    § 3(a) Except as provided in § 3(b) below, all allowed priority claims will be paid in full unless the creditor
agrees otherwise:

      Creditor                           Claim Number        Type of Priority                   Amount to be Paid by
                                                                                                Trustee
      Vincent Rubino, Esq.                      N/A          Attorney Fees                      $4,225.00




   § 3(b) Domestic Support obligations assigned or owed to a governmental unit and paid less than full
amount.
    ☒ None. If “None” is checked, the rest of § 3(b) need not be completed.
      ☐ The allowed priority claims listed below are based on a domestic support obligation that has been
assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim. This plan provision
requires that payments in § 2(a) be for a term of 60 months; see 11 U.S.C. § 1322(a)(4).


         Name of Creditor                               Claim Number         Amount to be Paid by Trustee




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Part 4: Secured Claims


     § 4(a) Secured Claims Receiving No Distribution from the Trustee:
       ☐ None. If “None” is checked, the rest of § 4(a) need not be completed.
     Creditor                                                          Claim Number    Secured Property

      If checked, the creditor(s) listed below will receive no
     distribution from the trustee and the parties’ rights will be
     governed by agreement of the parties and applicable
     nonbankruptcy law.

     Five Star Bank                                                         N/A        2018 Chevrolet Cruze



      If checked, the creditor(s) listed below will receive no
     distribution from the trustee and the parties’ rights will be
     governed by agreement of the parties and applicable
     nonbankruptcy law.




    Part 4: Secured Claims




    § 4(b) Curing Default and Maintaining Payments
    ☐ None. If “None” is checked, the rest of § 4(a) need not be completed.

    The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and, Debtor shall
pay directly to creditor monthly obligations falling due after the bankruptcy filing in accordance with the parties’ contract.

 Creditor                                  Claim Number              Description of Secured               Amount to be Paid by
                                                                     Property and Address, if             Trustee
                                                                     real property


 Village Capital & Investment,                      N/A              628 West Berwick Street, Easton,     $41,000 – includes
 LLC.                                                                PA 18042                             $1,500 post-petition
                                                                                                          fees.




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     § 4(c) Allowed secured claims to be paid in full: based on proof of claim or pre-confirmation determination
of the amount, extent or validity of the claim
       ☐ None. If “None” is checked, the rest of § 4(c) need not be completed.

        (1) Allowed secured claims listed below shall be paid in full and their liens retained until completion
of payments under the plan.

           (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to
determine the amount, extent or validity of the allowed secured claim and the court will make its determination
prior to the confirmation hearing.

        (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general
unsecured claim under Part 5 of the Plan or (B) as a priority claim under Part 3, as determined by the court.

           (4) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
§ 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different
interest rate or amount for “present value” interest in its proof of claim or otherwise disputes the amount provided for “present value”
interest, the claimant must file an objection to confirmation.

        (5) Upon completion of the Plan, payments made under this section satisfy the allowed secured claim and release the
corresponding lien.


                                   Claim       Description of Secured        Allowed        Present         Dollar            Amount to
 Name of Creditor                  Number      Property                      Secured        Value           Amount of         be Paid by
                                                                             Claim          Interest        Present           Trustee
                                                                                            Rate            Value
                                                                                                            Interest
 Portnoff Law Associates              N/A      628 West Berwick              $1,378.43           N/A             N/A          $1,378.43
                                               Street, Easton, PA
                                               18042 – 2020-2021
                                               Sewer, Trash &
                                               Stormwater Fees

 Portnoff Law Associates              N/A      628 West Berwick              $ 503.62            N/A              N/A         $ 503.62
                                               Street, Easton, PA
                                               18042 – 2022 Sewer,
                                               Trash & Stormwater
                                               Fees



        § 4 (d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506
        ☒ None. If “None” is checked, the rest of § 4(d) need not be completed.

     The claims below were either (1) incurred within 910 days before the petition date and secured by a purchase money security
interest in a motor vehicle acquired for the personal use of the debtor(s), or (2) incurred within 1 year of the petition date and secured
by a purchase money security interest in any other thing of value.

          (1) The allowed secured claims listed below shall be paid in full and their liens retained until completion of payments under the
plan.

         (2) In addition to payment of the allowed secured claim, “present value” interest pursuant to 11 U.S.C.
§ 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different interest rate or amount for
“present value” interest in its proof of claim, the court will determine the present value interest rate and amount at the confirmation
hearing.




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                                 Claim        Description of Secured        Allowed        Present         Dollar           Amount to
 Name of Creditor                Number       Property                      Secured        Value           Amount of        be Paid by
                                                                            Claim          Interest        Present          Trustee
                                                                                           Rate            Value
                                                                                                           Interest




     § 4 (e) Surrender
       ☒ None. If “None” is checked, the rest of § 4(e) need not be completed.

            (1) Debtor elects to surrender the secured property listed below that secures the creditor’s claim.
            (2) The automatic stay under 11 U.S.C. § 362(a) and 1301(a) with respect to the secured property terminates upon
confirmation of the Plan.
            (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

 Creditor                        Claim Number       Secured Property




     § 4 (f) Loan Modification
       ☒ None. If “None” is checked, the rest of § 4(f) need not be completed.
       (1) Debtor shall pursue a loan modification directly with                      or its successor in interest or its
 current servicer (“Mortgage Lender”), in an effort to bring the loan current and resolve the secured arrearage claim.

       (2) During the modification application process, Debtor shall make adequate protection payments directly to
 Mortgage Lender in the amount of $            per month, which represents                        (describe
 basis of adequate protection payment). Debtor shall remit the adequate protection payments directly to the
 Mortgage Lender.

       (3) If the modification is not approved by               (date), Debtor shall either (A) file an amended Plan to
 otherwise provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seek relief from the
 automatic stay with regard to the collateral and Debtor will not oppose it.



Part 5: General Unsecured Claims

     § 5(a) Separately classified allowed unsecured non-priority claims
       ☒ None. If “None” is checked, the rest of § 5(a) need not be completed.

                            Claim Number         Basis for Separate                Treatment                 Amount to be Paid
 Creditor                                        Classification                                              by Trustee




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     § 5 (b) Timely filed unsecured non-priority claims
          (1) Liquidation Test (check one box)
              ☒ All Debtor(s) property is claimed as exempt.
              ☐ Debtor(s) has non-exempt property valued at $              for purposes of § 1325(a)(4) and plan
provides for distribution of $                  to allowed priority and unsecured general creditors.

            (2) Funding: § 5(b) claims to be paid as follows (check one box):
               ☐ Pro rata
               ☒ 100%
               ☐ Other (Describe)


Part 6: Executory Contracts & Unexpired Leases


     ☒ None. If “None” is checked, the rest of § 6 need not be completed.

 Creditor                                 Claim             Nature of              Treatment by Debtor Pursuant to §365(b)
                                          Number            Contract or
                                                            Lease




Part 7: Other Provisions

     § 7(a) General principles applicable to the Plan
        (1) Vesting of Property of the Estate (check one box)
                 ☒ Upon confirmation
                 ☐ Upon discharge

        (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. §1322(a)(4), the amount of a creditor’s claim listed in its proof of claim
controls over any contrary amounts listed in Parts 3, 4 or 5 of the Plan.

        (3) Post-petition contractual payments under § 1322(b)(5) and adequate protection payments under § 1326(a)(1)(B),(C) shall
be disbursed to the creditors by the debtor directly. All other disbursements to creditors shall be made by the Trustee.

        (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is the plaintiff, before
the completion of plan payments, any such recovery in excess of any applicable exemption will be paid to the Trustee as a special
Plan payment to the extent necessary to pay priority and general unsecured creditors, or as agreed by the Debtor and the Trustee and
approved by the court.

     § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor’s principal residence

        (1) Apply the payments received from the Trustee on the pre-petition arrearage, if any, only to such arrearage.

        (2) Apply the post-petition monthly mortgage payments made by the Debtor to the post-petition mortgage obligations as
provided for by the terms of the underlying mortgage note.

        (3) Treat the pre-petition arrearage as contractually current upon confirmation for the Plan for the sole purpose of precluding
the imposition of late payment charges or other default-related fees and services based on the pre-petition default or default(s). Late
charges may be assessed on post-petition payments as provided by the terms of the mortgage and note.




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       (4) If a secured creditor with a security interest in the Debtor’s property sent regular statements to the Debtor pre-petition, and
the Debtor provides for payments of that claim directly to the creditor in the Plan, the holder of the claims shall resume sending
customary monthly statements.

          (5) If a secured creditor with a security interest in the Debtor’s property provided the Debtor with coupon books for payments
prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon book(s) to the Debtor after this case has
been filed.

        (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as set forth above.




     § 7(c) Sale of Real Property
         ☒ None. If “None” is checked, the rest of § 7(c) need not be completed.

       (1) Closing for the sale of                                (the “Real Property”) shall be completed within _____
months of the commencement of this bankruptcy case (the “Sale Deadline”). Unless otherwise agreed by the parties or
provided by the Court, each allowed claim secured by the Real Property will be paid in full under §4(b)(1) of the Plan at the
closing (“Closing Date”).

        (2) The Real Property will be marketed for sale in the following manner and on the following terms:




         (3) Confirmation of this Plan shall constitute an order authorizing the Debtor to pay at settlement all customary
closing expenses and all liens and encumbrances, including all § 4(b) claims, as may be necessary to convey good and
marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor from seeking court approval of the
sale of the pursuant to 11 U.S.C. §363, either prior to or after confirmation of the Plan, if, in the Debtor’s judgment, such
approval is necessary or in order to convey insurable title or is otherwise reasonably necessary under the circumstances to
implement this Plan.

           (4) At the Closing, it is estimated that the amount of no less than $______________ shall be made payable to the
Trustee.

        (5) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours of the Closing Date.

        (5) In the event that a sale of the Real Property has not been consummated by the expiration of the Sale Deadline:




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    Part 8: Order of Distribution



The order of distribution of Plan payments will be as follows:

     Level 1: Trustee Commissions*
     Level 2: Domestic Support Obligations
     Level 3: Adequate Protection Payments
     Level 4: Debtor’s attorney’s fees
     Level 5: Priority claims, pro rata
     Level 6: Secured claims, pro rata
     Level 7: Specially classified unsecured claims
     Level 8: General unsecured claims
     Level 9: Untimely filed general unsecured non-priority claims to which debtor has not objected

*Percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee not to exceed ten
(10) percent.




      Part 9: Non Standard or Additional Plan Provisions


      Under Bankruptcy Rule 3015.1(e), Plan provisions set forth below in Part 9 are effective only if the
      applicable box in Part 1 of this Plan is checked. Nonstandard or additional plan provisions placed
      elsewhere in the Plan are void.

      ☒ None. If “None” is checked, the rest of § 9 need not be completed.

       Part 10: Signatures



      By signing below, attorney for Debtor(s) or unrepresented Debtor(s) certifies that this Plan contains no
      nonstandard or additional provisions other than those in Part 9 of the Plan, and that the Debtor(s) are
      aware of, and consent to the terms of this Plan.


      Date: April 03, 2024                                 /s/ Vincent Rubino, Esq.
                                                           VINCENT RUBINO, ESQ., Attorney for Debtors


      Date: April 03, 2024                                 /s/ Pamela Denise Jonjo
                                                           PAMELA DENISE JONJO, Debtor




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